                      IN THE DISTRICT COURT OF THE UNITED STATES
                     FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                  CHARLOTTE DIVISION
                                        3:05cr345

UNITED STATES OF AMERICA                      )
                                              )
               vs.                            )                      ORDER
                                              )
JASON MICHAEL DOLINAR (2)                     )
                                              )


       THIS MATTER is before the Court upon motion of the government for a reduction of

the defendant’s sentence pursuant to Federal Rule of Criminal Procedure 35(b). (Doc. No. 109).

The defendant did not respond to the motion.

       For the reasons stated in the government’s motion, the Court finds that the defendant,

after sentencing, provided substantial assistance in investigating or prosecuting another person

and reducing the sentence accords with the Sentencing Commission’s guidelines and policy

statements. Fed. R. Crim. P. 35(b)(1)(A) and (B).

       IT IS, THEREFORE, ORDERED that the government’s motion is GRANTED and the

defendant’s sentence is reduced to 80 months’ imprisonment. All other terms and conditions

previously imposed remain unchanged.

       The Clerk is directed to certify copies of this order to the defendant, counsel for the

defendant, to the United States Attorney, the United States Marshals service, and the U.S.

Probation office.
                                                  Signed: February 25, 2008




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